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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS




     **********************************
     GIGI KAI ZI CHAN,
                       Plaintiff
     vs.                           CA NO. 19-CV-11605-WGY
     WELLINGTON MANAGEMENT COMPANY
     LLP and CHARLES ARGYLE,


                       Defendants


     **********************************




                     VIDEOTAPED DEPOSITION OF:
                           GIGI KAI ZI CHAN
                            (Taken Remotely)
                          375 Route de Prades
                      St. Geniez d'Olt, France
                 October 6, 2020               9:07 a.m.


                           Darlene M. Coppola
                      Registered Merit Reporter
                     Certified Realtime Reporter
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 3   (Via Zoom)

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24   (Continued on next page.)
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 1   APPEARANCES (continued):

 2   Also Present:

 3   Sara Martin, Wellington Management Company

 4   Gregory Mattiko

 5   Kendra Dobson, Videographer

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                                                                   Page 71
 1         threatened suit against an employer?

 2              A.    Not that I am aware of, no.

 3              Q.    When is the last time your husband

 4         worked for Tantallon?

 5              A.    I don't recall exactly, but it was --

 6              Q.    Do you know -- I'm sorry.         Go ahead.

 7         I didn't -- I thought you were finished.

 8              A.    No, you go on.

 9              Q.    Do you know why he's no longer working

10         there, why -- strike that.

11                    Do you know why he stopped working

12         there?

13              A.    I believe he stopped working there

14         because the founder decided to downsize

15         operations.     That's my understanding.

16              Q.    Okay.    Tantallon -- at least he was --

17         your husband was based in Singapore when he

18         worked for them; is that right?

19              A.    Yes.

20              Q.    And was he living in Singapore?

21              A.    Yes.

22              Q.    Okay.    Threadneedle was your employer

23         starting in -- I think you said October 2000;

24         is that right?
Case 1:19-cv-11605-WGY Document 68-4 Filed 04/01/21 Page 7 of 25


                                                                   Page 72
 1              A.     Yes.

 2              Q.     And the position that you were hired

 3         for was a trainee fund manager; is that right?

 4              A.     I don't remember the exact name of it,

 5         but yes.

 6              Q.     Would that be equivalent to an analyst

 7         at least in the -- in the Threadneedle

 8         parlance?

 9              A.     I remember my business card saying

10         analyst, so yes, I was -- I was hired as an

11         analyst trainee fund manager, yes.

12              Q.     And you worked in the UK for

13         Threadneedle until 2011, correct?

14              A.     Correct.

15              Q.     When were you first given the title of

16         fund manager at Threadneedle?

17              A.     In April 2004.

18              Q.     So you were no longer a trainee.            You

19         were actually referred to as a fund manager as

20         of April 2004, correct?

21              A.     Correct.

22              Q.     And that was the same year that you

23         became a chartered financial analyst?

24              A.     Correct.
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                                                                   Page 86
 1                     (Recess was taken from 8:57 a.m.

 2                      to 9:16 a.m.)

 3

 4                             THE VIDEOGRAPHER:       We are back

 5         on the record at 9:16 a.m.

 6         BY MR. PATERNITI:

 7              Q.     Ms. Chan, without telling me the

 8         substance of any communications, during the

 9         break, did you chat with your lawyer?

10              A.     Yes.

11              Q.     At Threadneedle, did you consider

12         yourself one of the top fund managers?

13              A.     I think my fund performed well and --

14         but there were lots of good fund managers at

15         Threadneedle, so I considered myself as a good

16         fund manager at Threadneedle.

17              Q.     As far as picking stocks, which -- in

18         essence, that's what a fund manager does,

19         right, make decisions about buying and selling

20         equities?

21                             MR. HANNON:     Objection to form.

22         You may answer.

23              A.     Not only that, although that is

24         important.     So I would say no, that's not
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                                                                   Page 107
 1                Q.   You don't know if it was Mark Burgess?

 2                A.   I don't recall.

 3                Q.   Were you interviewed as part of that

 4         investigation?

 5                A.   I believe so, yes.

 6                Q.   Do you know what that -- what, if any,

 7         conclusions were reached in that

 8         investigation?

 9                A.   No, I don't recall.

10                Q.   You separated from Threadneedle

11         approximately -- exactly one month after the

12         suspension letter, correct?

13                A.   Correct.

14                Q.   At what point did you retain a lawyer

15         relating to the suspension and termination of

16         your employment by Threadneedle?

17                A.   I don't recall precisely.

18                Q.   Was it as soon as you found out you

19         were suspended?

20                A.   It would have been near that time,

21         yes.

22                Q.   Why would you need a lawyer?

23                A.   To protect my rights.

24                Q.   What rights did you have at that
Case 1:19-cv-11605-WGY Document 68-4 Filed 04/01/21 Page 10 of 25


                                                                Page 115
 1         part of the negotiation, was it not?

 2              A.     Yes.

 3              Q.     The last page of the agreement, it's

 4         Schedule 4 and it's an agreed-upon press

 5         release, correct?

 6              A.     Correct.

 7              Q.     You negotiated that language with

 8         Threadneedle, correct?

 9              A.     Correct.

10              Q.     And the negotiated language was that

11         you decided to leave Threadneedle to take a

12         career break, correct?

13              A.     Correct.

14              Q.     But, in fact, prior to being

15         suspended, you had no intention of taking a

16         quote/unquote career break, correct?

17              A.     Incorrect.

18              Q.     So what were your plans prior to being

19         suspended about this career break?

20              A.     Prior to being suspended, my plans

21         were, indeed, to take a career break and

22         follow my husband, then fiance, to New York.

23              Q.     So you intended to leave Threadneedle

24         no matter what, is your testimony?
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                                                                Page 116
 1                A.   That is my testimony.

 2                Q.   So for a fund manager, doesn't that

 3         damage your career in terms of a track record?

 4                A.   In the sense of there being a gap,

 5         yes.

 6                Q.   When did you notify Threadneedle of

 7         your intent to take a career break?

 8                             MR. HANNON:      Objection to form.

 9         You may answer.

10                A.   Unfortunately, I didn't have the

11         opportunity to.

12         BY MR. PATERNITI:

13                Q.   So, by coincidence, you were suspended

14         at about the same time you were thinking you

15         were going to take a career break; is that

16         your testimony?

17                A.   That is my testimony, yes.

18                Q.   Your husband had been in -- I'm sorry.

19                     Where was your husband?        He was

20         located in the US?

21                A.   He moved to the US in October 2013.

22                Q.   Did Threadneedle have any US

23         operations?

24                A.   Columbia did and does, yes.
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                                                                Page 169
 1         in all of your discussions with folks,

 2         investors and the -- sort of Wellington and

 3         its affiliates -- you would refer to China Ops

 4         Fund.     You never mentioned once that I have

 5         seen this much larger AUM fund that you're now

 6         testifying about.

 7                             MR. HANNON:      Objection to form.

 8         BY MR. PATERNITI:

 9              Q.     Why -- why is it that you wouldn't

10         mention this much larger fund when you were

11         touting your experience and your

12         accomplishments?

13                             MR. HANNON:      Objection to form.

14         You may answer.

15              A.     Because the China Ops Fund has got a

16         public track record, which is verifiable and

17         very good.     The carve-out that I had been

18         managing, I was managing them only after

19         2000 and -- only from 2010.          Therefore, the

20         track record wasn't as long and, therefore,

21         not as representative.        And also, there was no

22         public track record for those assets.

23         BY MR. PATERNITI:

24              Q.     Okay.   So you compare yourself to Greg
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                                                                Page 182
 1              Q.     During the interview process, I

 2         believe you are alleging that representations

 3         were made to you about what you could expect

 4         once hired; is that accurate?

 5              A.     Correct.

 6              Q.     In fact, you feel there were

 7         misrepresentations made to you about what you

 8         would be doing, correct?

 9              A.     Correct.

10              Q.     Who is it that you claim made those

11         misrepresentations at the hiring stage?

12              A.     Henry Philip.

13              Q.     What did Henry Philip say to you at

14         the hiring stage in 2014 that constituted a

15         misrepresentation?

16              A.     He said something along the lines

17         of -- that I would be looking to manage money

18         a few months in.

19              Q.     Can you give me anymore context than

20         that phrase?      Do you remember anything more

21         about that conversation other than that

22         phrase?

23              A.     It was in the context of having to

24         focus on thinking about my investment process
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                                                                Page 183
 1         and philosophy even prior to -- even prior to

 2         joining with view of managing money a few

 3         months in.

 4              Q.     "With a view towards managing money a

 5         few months in," is that exactly the wording he

 6         used?

 7              A.     I forget the exact wording he used,

 8         but that was the sense he was getting across

 9         in that context.

10              Q.     Can you recall with any more

11         specificity the words he used that led you to

12         believe that you would be managing money

13         shortly after joining?

14              A.     Not at this moment.

15              Q.     Well, is there any other moment after

16         this that you're going to have a better memory

17         of that?

18                             MR. HANNON:      Objection to form.

19         You may answer.

20              A.     If there's anything that would jog my

21         memory, then that would help me remember more.

22         BY MR. PATERNITI:

23              Q.     Well, do you know if there's anything

24         that would help you jog your memory?
Case 1:19-cv-11605-WGY Document 68-4 Filed 04/01/21 Page 15 of 25


                                                                Page 232
 1         "Are you or have you ever been the subject of

 2         an investigation into allegations of

 3         misconduct or malpractice in connection with

 4         any business activity?"

 5                     And you answered, "No," correct?

 6                A.   Correct.

 7                Q.   At that time that you filled this out,

 8         you were obviously aware of the allegations of

 9         insubordination made while you were working at

10         Threadneedle, correct?

11                A.   Allegations of insubordination, yes.

12         I was aware of allegations of insubordination,

13         yes.

14                Q.   Isn't that information that you

15         believe Wellington Management Hong Kong was

16         entitled to know about in response to this

17         Question No. 9?

18                A.   It was not information that I thought

19         Wellington was asking me about in

20         Question No. 9.

21                Q.   Why did you think that?

22                A.   Because I don't think that allegations

23         of misconduct or malpractice is the same as

24         allegations of insubordination.
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                                                                Page 242
 1         philosophy and process panel that took place

 2         in September of 2015, correct?

 3              A.     Yes.

 4              Q.     And you knew the purpose of the

 5         philosophy and process panel?

 6              A.     I thought I did, yes.

 7              Q.     What did you think the purpose was?

 8              A.     As it was communicated to me, the

 9         purpose of me doing the process and philosophy

10         panel was that it was a prerequisite to

11         launching the China Growth Fund.

12              Q.     Well, was there any other purpose to

13         it other than it being a prerequisite to

14         launching the fund?

15              A.     I was told that otherwise normally it

16         was for young investors to help them find

17         their feet.

18              Q.     Who told you that?

19              A.     I -- as I recall, it was Tom Baxter.

20              Q.     Are you aware of anybody else who, as

21         of the time you presented the P&P panel, also

22         had presented to a P&P panel within Wellington

23         or any of its affiliates -- with Wellington

24         Management Hong Kong or any of its affiliates?
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                                                                Page 243
 1                A.   At the time that I presented or

 2         afterwards?

 3                Q.   At any time.

 4                A.   Afterwards, I was told that in Asia

 5         that two analysts had presented to the process

 6         and philosophy panel, and that's all -- those

 7         are the two specific individuals that I'm

 8         aware of that had presented at such a panel.

 9                Q.   Were those analysts comparable to you

10         in terms of experience?

11                A.   I don't believe so, no.

12                Q.   Who were they?

13                A.   They were Naveen -- and I forget his

14         surname -- and Hero -- and I forget his

15         surname.

16                Q.   Were you insulted by the fact that you

17         had to present to the P&P panel?

18                A.   I was confused.

19                Q.   You found it unnecessary, didn't

20         you?

21                A.   I found -- no, I didn't find it

22         unnecessary.        I found it confusing.

23                Q.   Okay.     Is one of -- it seems one of

24         your allegations in this case is that you
Case 1:19-cv-11605-WGY Document 68-4 Filed 04/01/21 Page 18 of 25


                                                                Page 253
 1              Q.     Other than being told by Tom Baxter

 2         that this is for young investors to get their

 3         feet, what else are you alleging you were told

 4         by people relating to the P&P panels that led

 5         you to conclude that you had -- you were

 6         treated differently with regard to the

 7         product -- with regard to the P&P panel than

 8         others?

 9              A.     Greg Mattiko told me that he was not

10         required to do a P&P panel as a prerequisite

11         to launching his fund.        Someone told me -- and

12         I believe it was Liz Hogben -- told me that

13         Dirk Enderlein had not been required to do a

14         process and philosophy panel for his fund.

15                     And Cheryl Duckworth told me that the

16         only two people in Asia that had been required

17         to do the process and philosophy panel were

18         Naveen and Hero and neither of them have had

19         any portfolio management experience, and

20         that's all I can remember right now.

21              Q.     Did it -- did it insult you -- I'm

22         sorry.    Strike that.

23                     Did you feel that you were viewed as a

24         "young investor"?
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                                                                Page 260
 1                             MR. HANNON:      Steve, you have to

 2         let her finish her answer.

 3

 4                     (Parties speaking simultaneously.)

 5

 6         BY MR. PATERNITI:

 7              Q.     Ms. Chan, are you aware of anything

 8         that would reflect your recollection?

 9                     I'm not asking you to speculate if a

10         note exists.      I'm asking if you're aware of

11         any documentation that reflects your

12         recollection -- that would refresh your

13         recollection.

14              A.     I'm not -- I -- I don't recall at this

15         moment.

16              Q.     With regard to the P&P panel, it was

17         an upsetting experience for you, correct?

18              A.     Correct.

19              Q.     You were offended by a comment, in

20         particular, that another investor made by the

21         name of Jun Oh, correct?

22              A.     Comments that Jun Oh made, yes.

23              Q.     And the comments you've alleged is

24         that he said something to the effect of "you
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                                                                Page 261
 1         look ridiculous," correct?

 2              A.     Correct.

 3              Q.     And he was talking about your

 4         presentation style, correct?

 5              A.     I don't know.

 6              Q.     Is it your testimony here that he

 7         wasn't explaining to you that your arms are

 8         waving around or, for whatever reason, you are

 9         presenting in a way that doesn't instill

10         confidence?       Was that your understanding?

11              A.     I'm sorry.     You said is it my

12         understanding that he didn't make it clear

13         that it was because I was presenting in a way

14         that indicated mental instability?

15              Q.     No.    I didn't -- that's not close to

16         what I asked you.        I'll strike the question

17         and ask again, okay?

18                     Was it your understanding that Jun Oh

19         was commenting about -- or making a comment

20         about your presentation style when he said

21         words to the effect, "You look ridiculous"?

22              A.     It was -- I didn't understand it to be

23         referring to anything in particular.

24              Q.     You just thought he made a complete
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                                                                Page 262
 1         non sequitur about your personal appearance,

 2         that you look ridiculous?

 3                              MR. HANNON:     Objection to form.

 4         You may answer.

 5         BY MR. PATERNITI:

 6              Q.     Is that your testimony?

 7              A.     I think he was implying something

 8         broader than just my presentation style.

 9              Q.     What do you think he was implying

10         broader?

11              A.     That it was also to do with my general

12         appearance.

13              Q.     Upon what basis do you reach the

14         conclusion that he was implying something

15         broader?

16              A.     On the basis that he didn't specify

17         anything about my presentation style when he

18         made that comment.

19              Q.     I see.

20                     Do you remember whether Jun Oh said

21         anything else other than "you look ridiculous"

22         or words to that effect?

23              A.     Do I remember anything else?         Yes.

24              Q.     What else did he say at the P&P panel
Case 1:19-cv-11605-WGY Document 68-4 Filed 04/01/21 Page 22 of 25


                                                                Page 263
 1         to you?

 2              A.     He said words to that effect of "do

 3         you honestly believe that clients would hand

 4         over their money on the basis of those few

 5         sentences" and he also said something

 6         along the lines of "you don't sound

 7         convincing, unless you plan on having a great

 8         track record."

 9              Q.     Do you remember any -- either Mr. Oh

10         or anybody else on the philosophy and process

11         panel, on September 18 of 2015, saying, "Have

12         you ever watched yourself on video?"

13              A.     I don't recall right now.

14              Q.     Wasn't part of your complaint about

15         the philosophy and process style that you

16         understood it to be about the substance of

17         your philosophy and process, but that there

18         were comments made about your presentation

19         style instead?

20              A.     So I was -- are you saying -- are you

21         asking me if that was what I was unhappy

22         about, that --

23              Q.     Wasn't that -- wasn't that one of the

24         primary reasons that you were upset about it?
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                                                                Page 264
 1              A.     Not -- no.

 2              Q.     So it didn't bother you at all if --

 3         that somebody made comments to you about your

 4         presentation style in the P&P panel?

 5              A.     Sorry.    Your previous question was,

 6         was that my primary reason for being upset,

 7         and it was "no."

 8                     And then you said, was I upset at all

 9         that they commented on my presentation style

10         instead of my investment process and

11         philosophy?

12                     Did it upset me at all?        Is that your

13         question?

14              Q.     That's my question.

15              A.     I was more confused than upset.

16              Q.     So you -- when you came out of that,

17         is it your testimony that you were not upset

18         in any manner about comments relating to your

19         presentation style that were made in the

20         philosophy and process panel?

21                              MR. HANNON:     Objection to form.

22         You may answer.

23              A.     Is it my testimony that I was not

24         upset at all that I got --
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                                                                Page 265
 1         BY MR. PATERNITI:

 2              Q.     Well, you keep saying you were

 3         confused, but you -- were you confused?             Were

 4         you upset?     Were you angry?       Were you

 5         offended?

 6                     Tell me what your reaction was when

 7         comments were made about your presentation

 8         style at that philosophy and process panel.

 9                     Other than being confused, did you

10         have any other emotions attached to that?

11                               MR. HANNON:    Objection to form.

12         You may answer.

13              A.     Did I have any reaction to comments

14         about my presentation style?

15         BY MR. PATERNITI:

16              Q.     Correct.

17              A.     Not in and of itself, no.

18              Q.     I don't know what that means.

19                     Can you -- can you explain what you

20         mean by "not in and of itself"?

21              A.     I was not upset by comments about my

22         presentation style.

23              Q.     Uh-huh.

24              A.     In fact, I remember constructive
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                                                                Page 266
 1         comments about how I presented to clients.

 2         What I was upset by was the disrespectful tone

 3         and belittling content of Jun Oh's comments.

 4               Q.    Were there any other comments that

 5         were disrespectful and belittling other than

 6         the "you look ridiculous" or words to that

 7         effect?

 8               A.    Yes.

 9               Q.    What else did he say that you felt was

10         disrespectful and belittling?

11               A.    The comments that I told you he also

12         said --

13               Q.    Okay.

14               A.    -- which were --

15               Q.    You don't have to repeat it.         We can

16         move forward on it.        I don't want to repeat

17         it.

18                     Any other comments that you haven't

19         mentioned that Jun Oh mentioned -- that Jun Oh

20         made that were belittling or disrespectful to

21         you in that panel that you haven't already

22         mentioned?

23               A.    Not that I recall right now.

24               Q.    And did anybody else make any other
